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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF NEW YORK


LACKAWANNA CHIROPRACTIC P.C., a
New York Professional Corporation,
individually and on behalf of all others
similarly situated,                                    Case No.

                 Plaintiff,
                                                       CLASS ACTION COMPLAINT
v.

FIRST AMERICAN MEDIA GROUP,                            JURY TRIAL DEMANDED
INC., a Nevada Corporation,

                 Defendant.


                                CLASS ACTION COMPLAINT

        Plaintiff, Lackawanna Chiropractic P.C. (“Lackawanna Chiropractic” or “Plaintiff”)

brings this Class Action Complaint against Defendant First American Media Group, Inc., a

Nevada Corporation (“First American” or “Defendant”) to stop Defendant’s practice of sending

unsolicited fax advertisements and to obtain redress for all persons injured by its conduct.

Plaintiff, Lackawanna Chiropractic, for its Class Action Complaint, alleges as follows upon

personal knowledge as to itself and its own acts and experiences, and, as to all other matters,

upon information and belief, including investigation conducted by its attorneys.

                                            PARTIES

        1.      Plaintiff is a professional corporation incorporated and existing under the laws of

the state of New York. Lackawanna Chiropractic’s principal place of business is in Buffalo, New

York.

        2.      Defendant, First American, is a corporation incorporated and existing under the

laws of the state of Nevada. Its principal office address is 3400 West Desert Inn Road, Suite 28,


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Las Vegas, Nevada 89102. First American does business throughout the United States, including

in the State of New York and in this District.

                                   JURISDICTION & VENUE

        3.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331, as the

action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA” or the

“Act”) a federal statute.

        4.       The Court has personal jurisdiction over Defendant and venue is proper in this

District because Defendant has engaged in the wrongful conduct giving rise to Plaintiff’s cause

of action in this District. Additionally, venue is proper in this District because Plaintiff resides in

this District.

                            COMMON FACTUAL ALLEGATIONS

        5.       This case challenges Defendant’s practice of sending unsolicited fax

advertisements.

        6.       Defendant markets and sells a wide variety of custom printed media, including

banners, calendars, notepads, etc., targeted primarily at businesses and business owners across

the country. Defendant accomplishes this through the use of multiple channels, including the use

of several web domain names targeted at specific geographic locations, the use of various “trade

names,” and targeted marketing campaigns that include fax advertisements.

        7.       One such name that Defendant operates under is First American Print Group, with

a website located at www.firstamericanprintnewyork.com.

        8.       Defendant employed this trade name when sending an unsolicited advertisement

to Plaintiff and the Class, in violation of the TCPA

        9.       Furthermore, Defendant employs many additional trade names, including “First




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American Print Group,” “Silverton Media Group,” and “Silverton Printing” to reach a wider

audience with their advertisements. Defendant also operates nearly identical websites for each

geographic location it purports to serve, such as www.firstamericanprintlasvegas.com,

www.firstamericanprintsandiego.com, www.firstamericanprintgroup.com,

www.silvertonprintgroup.com, and www.silvertonprint.com. All of these trade names and

websites belong to Defendant, First American Media Group, Inc.

       10.     Using this business structure, Defendant has created a far-reaching network for

the marketing and sale of their goods and services. Unfortunately, as part of this business

practice, Defendant has employed, and continues to employ, the use of unsolicited fax

advertisements to consumers, including Lackawanna Chiropractic and the Class.

       11.     To market Defendant’s custom printed media products and services to potential

clients, Defendant sends out unsolicited faxes that advertise the existence of Defendant First

American and its custom printed media products and services.

       12.     Unfortunately for recipients of the faxes, as part of their marketing efforts,

Defendant sends unsolicited fax advertisements.

       13.     The Telephone Consumer Protection Act of 1991, as amended by the Junk Fax

Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations promulgated

under the Act, prohibits a person or entity from faxing or having an agent fax advertisements

without the recipient’s prior express consent, invitation, and permission. The JFPA provides a

private right of action and provides statutory damages of $500 per violation.

       14.     Defendant sent facsimile transmissions of unsolicited advertisements to Plaintiff

Lackawanna Chiropractic and the Class in violation of the JFPA (See “First American Fax,” a

true and correct copy of which is attached hereto as Exhibit A.) The First American Fax




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promotes the services and goods of Defendant, namely custom printed media products and

services. Plaintiff is informed and believes, and upon such information and belief avers, that

Defendant has sent, and continues to send, unsolicited advertisements via facsimile transmission

in violation of the JFPA to at least 40 other persons as well (and likely to hundreds, or even

thousands, of persons).

       15.     Unsolicited faxes cause harm to their recipients. A junk fax recipient loses the use

of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s time that would

have been spent on something else. A junk fax also interferes with, invades, and intrudes upon

the recipient’s privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes,

prevent their use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

machines, and require additional time and labor to attempt to discern the source and purpose of

the unsolicited message. Such faxes are annoying and are a hassle to deal with.

       16.     On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendant under the JFPA.

       17.     Defendant’s facsimile transmissions were and are being done in the same or

similar manner. That is, Defendant used the same equipment to send facsimiles to Plaintiff as

they used to send facsimiles to everyone else. As such, this action is based on the same legal

theory, namely liability under the JFPA. This action seeks relief expressly authorized by the

JFPA: (i) injunctive relief enjoining Defendant, its employees, agents, representatives,

contractors, affiliates, and all persons and entities acting in concert with them, from sending

unsolicited advertisements in violation of the JFPA; and (ii) an award of statutory damages in the

minimum amount of $500 for each violation of the JFPA, and to have such damages trebled, as

provided by 47 USC § 227(b)(3).




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       18.       Defendant transmits many of these faxes to individuals and businesses with which

they have no prior relationship. Despite this fact, Defendant sends the faxes without invitation or

permission, and fails to seek or acquire recipients’ consent before transmitting advertisement

faxes to them.

       19.       In order to curtail this type of behavior, the TCPA prohibits a person or entity

from faxing or having an agent fax advertisements without the recipient’s prior express consent,

invitation, and permission. The Act also requires that all fax advertisements feature statutorily

mandated opt-out information.

       20.       The fax sent by Defendant constitutes an advertisement as contemplated by the

TCPA because it advertises the commercial availability of Defendant’s discounted printing

services and products, along with pricing and contact information to place an order.

       21.       Defendant caused the fax advertisement at issue in this complaint to be sent to

recipients by use of a telephone facsimile machine, computer, or other device.

       22.       The fax sent by Defendant fails to provide recipients with the proper opt-out

notice and information required by the TCPA and its implementing regulations, including: (i) a

facsimile machine number for fax recipients to transmit opt-out requests to; (ii) a notice

informing fax recipients of their legal right to opt-out of receiving future faxed advertisements;

and (iii) a mechanism that allows recipients to opt-out of receiving future faxes at any time on

any day of the week.

       23.       Accordingly, Defendant was required to obtain the recipients consent before

transmitting the fax advertisement in question. Moreover, regardless of any consent so provided,

Defendant was also required to provide the opt-out notices mandated by the TCPA. By failing to

acquire the fax recipients’ consent, and to provide the proper opt-out notices, Defendant has




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violated the TCPA.

       24.     Unsolicited faxes cause damage to their recipients. A junk fax recipient loses the

use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s time that

would have been spent on something else. A junk fax also invades the recipient’s privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited message.

       25.     On behalf of himself and all others similarly situated, Plaintiff brings this case as

a class action asserting claims against Defendant under the TCPA.

       26.     Plaintiff is informed and believes that this action is based upon a common nucleus

of operative facts because the facsimile transmission at issue was and is being done in the same

or similar manner. This action is based on the same legal theory, namely liability under the

TCPA. This action seeks relief expressly authorized by the TCPA: (i) injunctive relief enjoining

Defendant, its employees, agents, representatives, contractors, affiliates, and all persons and

entities acting in concert with them, from sending unsolicited advertisements in violation of the

TCPA; and (ii) an award of statutory damages in the minimum amount of $500 for each violation

of the TCPA, and to have such damages trebled, as provided by § 227(b)(3) of the Act, insofar as

Defendant is found to have willfully violated the Act.

                              FACTS SPECIFIC TO PLAINTIFF

       27.     During October 2016, Defendant transmitted the First American Fax by telephone

facsimile machine to Lackawanna Chiropractic.

       28.     Defendant profited by, and received the benefits of, marketing their products

and/or services, and are the responsible party under the TCPA.




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       29.     Defendant created the First American Fax, which Defendant knew or should have

known advertises Defendant’s goods or services, and distributed it to Lackawanna Chiropractic,

as well as other members of the Class.

       30.     The First American Fax is part of Defendant’s work or operations to market its

goods or services, which is performed by Defendant\ and/or on behalf of Defendant. Therefore,

the First American Fax constitutes material furnished in connection with Defendant’s work or

operations.

       31.     Lackawanna Chiropractic never invited nor gave permission to Defendant to send

the First American Fax and had no prior relationship with Defendant at all.

       32.     Moreover, the First American Fax failed to feature the required opt-out notice

mandated by 47 U.S.C. § 227(b)(2)(D) and 47 C.F.R. § 64.1200(a)(4)(iii)–(iv) by failing to

provide, inter alia: (i) a facsimile machine number for fax recipients to transmit opt-out requests

to; (ii) a notice informing fax recipients of their legal right to opt-out of receiving future faxed

advertisements; and (iii) a mechanism that allows recipients to opt-out of receiving future faxes

at any time on any day of the week.

       33.     Defendant faxed the same unsolicited facsimile to Plaintiff and at least 40 other

recipients without first receiving the recipients’ express permission or invitation.

       34.     There is no reasonable means for Lackawanna Chiropractic (or any other class

member) to avoid receiving unauthorized faxes. Fax machines are left on and ready to receive

the urgent communications their owners desire to receive.

                               CLASS ACTION ALLEGATIONS

       35.     In accordance with F. R. Civ. P. 23(b)(1), (b)(2) and (b)(3), Plaintiff brings this

class action pursuant to the TCPA, on behalf of the following class of persons:




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       All persons who: (1) on or after four years prior to the filing of this action; (2)
       were sent, by Defendant or on Defendant’s behalf, a telephone facsimile message
       substantially similar to Exhibit A; and (3) from whom Defendant claims it
       obtained prior express permission or invitation to send those faxes in the same
       manner as Defendant claims they obtained prior express consent to fax the
       Plaintiff.

       36.     The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the class definition following appropriate

discovery.

       37.     Class Size (F. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes that the

number of persons and entities of the Class are numerous and joinder of all members is

impracticable. Plaintiff is informed and believes that the number of class members is in the

thousands.

       38.     Commonality (F. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply

to the claims of all class members. Common material questions of fact and law include, but are

not limited to, the following:

               a.      Whether the Defendant sent an unsolicited fax advertisement;

               b.      Whether the Defendant’s faxes advertised the commercial availability of

               Defendant’s goods and/or services;

               c.      Whether the manner and method the Defendant used to compile or obtain



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              the list of fax numbers to which it sent the faxes and other unsolicited faxed

              advertisements procured prior express permission or invitation from the recipients

              to send the faxes;

              d.      Whether the Defendant faxed advertisements without first obtaining the

              recipient’s prior permission or invitation;

              e.      Whether the Defendant sent the faxed advertisements knowingly;

              f.      Whether the Defendant violated the provisions of 47 U.S.C. § 227 and the

              regulations promulgated thereunder;

              g.      Whether the First American Fax contained an “opt-out notice” that

              complies with the requirements of § (b)(1)(C)(iii) of the Act, and the regulations

              promulgated thereunder, and the legal effect of the failure to comply with such

              requirements;

              h.      Whether the Defendant should be enjoined from faxing advertisements in

              the future;

              i.      Whether the Plaintiff and the other members of the Class are entitled to

              statutory damages; and

              j.      Whether Defendant acted willfully so as to require an award of treble

              damages.

       39.    Typicality (F. R. Civ. P. 23 (a)(3)): The Plaintiff’s claims are typical of the claims

of all class members. The Plaintiff received the First American Fax sent by or on behalf of the

Defendant advertising goods and services of the Defendant during the Class Period. The Plaintiff

is making the same claims and seeking the same relief for itself and all class members based

upon the same federal statute. The Defendant has acted the same or in a similar manner with




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respect to the Plaintiff and all the class members.

       40.     Fair and Adequate Representation (F. R. Civ. P. 23 (a)(4)): Plaintiff will fairly

and adequately represent and protect the interests of the Class and has retained counsel

competent and experienced in complex class actions. Plaintiff has no interest antagonistic to

those of the Class, and Defendant have no defenses unique to Plaintiff.

       41.     Common Conduct (F. R. Civ. P. 23 (b)(2)): Class certification is appropriate

because the Defendant has acted and refused to act in the same or similar manner with respect to

all class members thereby making injunctive and declaratory relief appropriate. The Plaintiff

demands such relief as authorized by 47 U.S.C. §227.

       42.     Predominance, Superiority, and Manageability (F. R. Civ. P. 23 (b)(3)): Common

questions of law and fact predominate over any questions affecting only individual members, and

a class action is superior to other methods for the fair and efficient adjudication of the

controversy because, among other reasons:

               a.      Proof of the claims of the Plaintiff will also prove the claims of the Class

               without the need for separate or individualized proceedings;

               b.      Evidence regarding defenses or any exceptions to liability that the

               Defendant may assert and prove will come from the Defendant’s records and will

               not require individualized or separate inquiries or proceedings;

               c.      The Defendant has acted and are continuing to act pursuant to common

               policies or practices in the same or similar manner with respect to all class

               members;

               d.      The amount likely to be recovered by individual class members does not

               support individual litigation. A class action will permit a large number of




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                relatively small claims involving virtually identical facts and legal issues to be

                resolved efficiently in one (1) proceeding based upon common proofs; and

                e.      This case is manageable as a class action in that:

                         i.        The Defendant identified persons or entities to receive the fax

                              transmission and Defendant’s computer, business, and phone records

                              will enable the Plaintiff to readily identify class members and establish

                              liability and damages;

                        ii.        Liability and damages can be established for the Plaintiff and the

                              Class with the same common proofs;

                       iii.        Statutory damages are provided for in the statute and are the same

                              for all class members and can be calculated in the same or a similar

                              manner;

                       iv.         A class action will result in an orderly and expeditious

                              administration of claims and it will foster economics of time, effort and

                              expense;

                        v.         A class action will contribute to uniformity of decisions

                              concerning the Defendant’s practices; and

                       vi.         As a practical matter, the claims of the Class are likely to go

                              unaddressed absent class certification.

                                  FIRST CAUSE OF ACTION
                Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227, et seq
                             (On Behalf of Plaintiff and the Class)

          43.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.




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       44.     The TCPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement …” 47 U.S.C. § 227(b)(1)(C).

       45.     The TCPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise.” 47

U.S.C. § 227 (a) (5).

       46.     The faxes sent by Defendant, which advertised Defendant’s printing services were

commercial in nature, and are advertisements under the TCPA.

       47.     Plaintiff and the other class members never gave prior express consent to receive

the faxes.

       48.     Opt-Out Notice Requirements. The TCPA also mandates that senders of faxed

advertisements place a clear and conspicuous notice on the first page of the transmission that

contains certain opt-out information. See 47 U.S.C. § 227(b)(2)(D); 47 C.F.R. 64.1200(a)(4)(iii).

This information must be provided on facsimile advertisements, regardless of any prior express

invitation or permission that may have been provided to the sender to receive a fax

advertisement. See 47 C.F.R. § 64.1200(a)(4)(iv).

       49.     Defendant failed to comply with the TCPA’s opt-out disclosure requirements

when it sent the First American Fax. Among other things, Defendant failed to: (i) provide a

facsimile machine number for fax recipients to transmit opt-out requests to; (ii) inform fax

recipients of their legal right to opt-out of receiving future faxed advertisements; and (iii) provide

a proper mechanism that allows recipients to opt-out of receiving future faxes at any time on any

day of the week.




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       50.     Compliance with the Opt-Out Notice Requirements is neither difficult nor costly.

The Opt-Out Notice Requirements are important consumer protections bestowed by Congress

upon the owners of fax machines giving them the right, and means, to stop unwanted faxed

advertisements. As a result of such requirements, a sender of a faxed advertisement who fails to

comply with the Opt-Out Notice Requirements has, by definition, transmitted an unsolicited

advertisement under the TCPA. This is because such a sender can neither claim that the

recipients of the faxed advertisement gave “prior express permission or invitation” to receive the

faxes nor can the sender claim the exemption from liability contained in § (b)(C)(1) of the Act.

       51.     The First American Fax. Defendant sent the October 2016 Fax via facsimile

transmission from telephone facsimile machines, computers, or other devices to the telephone

facsimile machines of Plaintiff and members of the Class. The First American Fax constituted an

advertisement under the Act. Defendant failed to comply with the Opt-Out Requirements in

connection with the First American Fax because it fails to apprise recipients of their legal right to

opt out and instead offers a cumbersome mechanism for recipients to opt out of receiving future

faxes. Additionally, the First American Fax does not include a statement that the sender must

honor a recipient’s opt-out request within 30 days or a statement indicating that all fax numbers

could be opted out, not merely the fax number at which the First American Fax were received.

       52.     The First American Fax was transmitted to persons or entities without their prior

express permission or invitation and/or Defendant are precluded from asserting any prior express

permission or invitation because of the failure to comply with the Opt-Out Notice Requirements.

By virtue thereof, Defendant violated the TCPA and the regulations promulgated thereunder by

sending the First American Fax via facsimile transmission to Plaintiff and members of the Class.

       53.     Defendant’s Other Violations. Plaintiff is informed and believes that during the




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period preceding four years of the filing of this Complaint and repeatedly thereafter, Defendant

has sent via facsimile transmission from telephone facsimile machines, computers, or other

devices to telephone facsimile machines of members of the Class faxes that constitute

advertisements under the TCPA that were transmitted to persons or entities without their prior

express permission or invitation (and/or that Defendant is precluded from asserting any prior

express permission or invitation because of the failure to comply with the Opt-Out Notice

Requirements in connection with such transmissions). By virtue thereof, Defendant violated the

TCPA and the regulations promulgated thereunder. Plaintiff is informed and believes that

Defendant is continuing to send unsolicited advertisements via facsimile transmission in

violation of the TCPA and the regulations promulgated thereunder, and absent intervention by

this Court, will do so in the future.

        54.     The TCPA provides a private right of action to bring this action on behalf of

Plaintiff and the Class to redress Defendant’s violations of the Act, and provides for statutory

damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is appropriate. Id.

        55.     The TCPA is a strict liability statute.

        56.     The Defendant knew or should have known that (a) the Plaintiff and the other

class members had not given express invitation or permission for the Defendant or anybody else

to fax advertisements about the Defendant’s goods or services, (b) the First American Fax

constituted an advertisement, and (c) that the First American Fax did not apprise recipients of

their legal right to opt out, that their opt-out request would be honored within 30 days, or that

they had the right to opt out of all of their fax numbers.

        57.     The Defendant’s actions caused concrete legal injury to the Plaintiff and the other

class members. Receiving the Defendant’s junk faxes caused the recipients to lose paper and




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toner consumed in the printing of the Defendant’s faxes. Moreover, the Defendant’s faxes used

the Plaintiff's fax machine. The Defendant’s faxes cost the Plaintiff time, as the Plaintiff and its

employees wasted their time receiving, reviewing and routing the Defendant’s unauthorized

faxes. That time would otherwise have been spent on the Plaintiff's business activities. The

Defendant’s faxes unlawfully invaded the Plaintiff’s and other class members’ privacy interests

in being left alone.

        58.     As a result of Defendant’s conduct, Plaintiff and the other members of the Class

are each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in damages for each

violation of the Act.

        59.     Furthermore, in the event the Court finds that Defendant’s conduct was willful

and knowing, the Court should, under 47 U.S.C. §227(b)(3)(C), treble the amount of statutory

damages recoverable by Plaintiff and the other members of the Class. 	

                                    REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, Lackawanna Chiropractic P.C., on behalf of itself and the

Class, requests that the Court grant the following relief:

                1.      An order certifying this case as a class action on behalf of the Class as

defined above; appointing Plaintiff as the representative of the Class and appointing its

attorneys’ as Class Counsel;

                2.      An order declaring that Defendant’s actions, as set out above, violate the

TCPA;

                3.      An order declaring that Defendant’s faxes constitute unsolicited

advertisements, that they lack the required opt out language, and that Defendant sent the faxes




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without first obtaining prior express invitation, permission or consent of the recipients, and

enjoining Defendant from further violations, and otherwise protecting the interests of the Class

               4.      An award of actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation, whichever is greater, to be trebled in the event

Defendant is found to have acted willfully, and to be paid in to a common fund for the benefit of

the Class members;

               5.      An order enjoining Defendant from further violations, and otherwise

protecting the interests of the Class;

               6.      An award of pre-judgment interest;

               7.      An award of reasonable attorneys’ fees and costs to be paid out of the

common fund prayed for above; and

               8.      Such further and other relief the Court deems reasonable and just.

                                         JURY DEMAND

               Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: February 16, 2017
                                                       LACKAWANNA CHIROPRACTIC P.C.,
                                                       individually and on behalf of all others
                                                       similarly situated,

                                                       By: /s/Stefan Coleman_____________


                                                       Law Offices of Stefan Coleman
                                                       5 Penn Plaza, 23rd floor
                                                       New York, New York 10001
                                                       Telephone: (877) 333-9427
                                                       Facsimile: (888) 498-8946
                                                       Stefan Coleman
                                                       law@stefancoleman.com
                                                       Attorney for Plaintiff and the Class




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               Exhibit A




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                                                                              Valued Member 10: 7168232730




                         DISCOUNT PRINTING IN
                                        Buffalo, NY
                1000 Flyers/Brochures (8.5x11, 100# Gloss Text, 4/4, Gloss Coating) $160.00

                       1000 Postcards (4x6, 14pt C2S, 4/4, Gloss UV Coating) $70.00

                    1000 Business Cards (2x3.S, 14pt C2S, 4/4, Gloss UV Coating) $36.00


                         & MUCH MORE AT HUGE SAVINGS

                 • BANNERS & FLAGS                         • FOAM BOARD SIGNS
                 • CALENDARS                               • LETTERHEAD
                 • CARBONLESS FORMS                        • MENU PRINTING
                 • CATALOGS                                • MESH BANNERS
                 • COLOR COPIES                            • POP-UP DISPLAYS
                 • ENVELOPES                               • PRESENTATION
                 • NOTEPADS                                  FOLDERS

                            Free LDcal Delivery In
                                         Buffalo, NY
                     Call or e-mail for your Fast Quote (646) 627-7233
                           Email: orders@FirstAmerlcanPrintGroup.com
                                     First American Print Group
                                      278 5 th Ave, Suite 704·231
                                         New York, NY 10001

                               www.FirstAmericanPrintNewYork.com

                           To unsubscribe, please visit www.pleaseunsubscribe.com
                                       All prices are subject to change




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